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                                                                                           United States District Court
                                                                                             Southern District of Texas

                                                                                                ENTERED
                                                                                                April 28, 2017
                               UNITED STATES DISTRICT COURT 

                                                                                             David J. Bradley, Clerk
                             For the SOUTHERN DISTRICT OF TEXAS 

                                       LAREDO DIVISION 


    UNITED STATES OF AMERICA

                                           Plaintiff

    v.                                                             Case No. 5:17-po-1481-1
                                                                   Magistrate Judge D. Song Quiroga

    Luis Gustavo Garcia-Aguilar

                                           Defendant


                                               JUDGMENT

           On April 24 2017, the above named defendant appeared in person and with counsel.

            Whereupon the defendant entered a plea of guilty to the offense of knowingly and willfully
    aiding and abetting the attempted illegal entry of illegal alien (s), into the United States by a
    willfully false or misleading representation or the willful concealment ofa material fact, in violation
    ofTitle 8, United States Code, Section 1325 (a)(3) and Title 18, United States Code, Section (a)(2),
    as charged in the Criminal Complaint, and the Court having asked the defendant whether he/she had
    anything to say why judgment should not be pronounced, and no sufficient cause to the contrary
    being shown or appearing to the Court;

    IT IS ADJUDGED that the defendant is guilty as charged and convicted.

    The defendant is hereby sentenced to 160 days confinement. Defendant has 14 days to appeal.

    A $10.00 special assessment is imposed.

    DONE at Laredo, Texas, on April 24, 2017.




I                                                  DIANA SONG QUIROGA
1                                                  UNITED STATES MAGISTRATE JUDGE
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